              Case 2:09-cr-00392-WBS Document 93 Filed 10/11/13 Page 1 of 2



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 R. STEVEN LAPHAM
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6

 7   Attorneys for Plaintiff
     United States of America
 8

 9                               IN THE UNITED STATES DISTRICT COURT
10                                  EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                           CASE NO. 2:09-CR-0392 WBS
13                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                         CONTINUING JUDGMENT AND SENTENCING
14                          v.
15   MUHAMMED INAYAT,
     ISA CHICAGOWHOLESALE,
16
                                  Defendants.
17

18

19          IT IS HEREBY STIPULATED between the United States of America through its undersigned
20   counsel, Assistant United States Attorney R. Steven Lapham, and defendant MUHAMMAD INAYAT

21   and ISA CHICAGO WHOLESALE, through their undersigned counsel, Jay L. Kanzler, that the
     judgment and sentencing presently set for October 10, 2013 at 9:30 a.m. be continued to January 27,
22
     2014 at 9:30 a.m.
23
            Both sides request this continuance because the defendant continues to require a period of
24
     convalescence following two heart that he suffered earlier this year. Because the defendant resides in
25
     Toronto, Canada, requiring him to appear for sentencing would necessitate him traveling by air for
26
     several hours which, the parties agree, would be contrary to the medical advice given to him by his
27
      Stipulation to Continue Sentencing                S1
28



30
                Case 2:09-cr-00392-WBS Document 93 Filed 10/11/13 Page 2 of 2



 1   doctors.
 2          IT IS SO STIPULATED.
 3

 4   Dated: October 10, 2013                       /s/ Jay L. Kanzler
                                                  JAY L. KANZLER
 5                                                Attorney for Defendants
                                                  Muhammad Inayat and
 6
                                                  ISA Chicago Wholesale
 7

 8   Dated: October 10, 2013                      BENJAMIN B. WAGNER
                                                  United States Attorney
 9

10
                                              by: /s/ R. Steven Lapham
11                                                R. STEVEN LAPHAM
                                                  Assistant U.S. Attorney
12

13

14

15                                           ORDER

16

17

18          IT IS SO ORDERED.

19          Dated: October 11, 2013

20

21

22

23

24

25

26

27
      Stipulation to Continue Sentencing        S2
28



30
